         Case:4:20-cv-05178-JST
         Case  23-16194, 06/25/2024, ID: 12893386,
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                    UNITED STATES COURT OF APPEALS
                                                                     FILED
                           FOR THE NINTH CIRCUIT
                                                                     JUN 25 2024
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 PATRINA HALL, AKA Patrina                      No. 23-16194
 Harrison,
                                                D.C. No. 4:20-cv-05178-JST
               Plaintiff - Appellant,
                                                U.S. District Court for Northern
   v.                                           California, Oakland

 CITY AND COUNTY OF SAN                         MANDATE
 FRANCISCO,

               Defendant - Appellee.


        The judgment of this Court, entered June 03, 2024, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT
